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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:
                                                                    Chapter 7
Elissa J. Siony
a/k/a Elissa Joy Siony,                                             Case No. 8-18-78093-ast
                         Debtor.

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                                     Order Authorizing Retention of
                                    Weinberg, Gross & Pergament LLP
                                        as Attorneys for Trustee

                 Upon the application of Marc A. Pergament, Trustee of the above-referenced

Debtor, for an Order under Section 327 of the Bankruptcy Code, 11 U.S.C. Section 327, Bankruptcy

Rule 2014 and Eastern District of New York Local Bankruptcy Rule 2014-1, authorizing the

retention of Weinberg, Gross & Pergament LLP under a general retainer as the Trustee’s counsel to

represent him in this Chapter 7 case, and upon the affidavit of Marc A. Pergament, Esq., a member

of the law firm of Weinberg, Gross & Pergament LLP, and it appearing that no notice of said

application need be given and no hearing on said application is necessary; and no adverse interest

having been represented, and the Court being satisfied that the firm of Weinberg, Gross &

Pergament LLP represents no interest adverse to the Debtor or her Estate in the matters upon which

said firm of attorneys is to be engaged and is a disinterested person under Section 101 of the

Bankruptcy Code, 11 U.S.C. Section 101, and that the employment of said firm of attorneys is

necessary and would be in the best interest of this Estate, it is

                 ORDERED, that the Trustee be, and he hereby is, authorized and empowered to

employ and retain the firm of Weinberg, Gross & Pergament LLP, as his counsel, to represent the

Trustee under a general retainer in the within proceeding under Chapter 7 of the Bankruptcy Code,
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with all future fees and reimbursement of expenses payable only upon further application pursuant

to 11 U.S.C. Sections 330 and 331, the Federal Rules of Bankruptcy Procedure, the E.D.N.Y. Local

Bankruptcy Rules, and further Order of the Court following a hearing on notice; and it is further

               ORDERED, that ten business days prior to any increases in Weinberg Gross &

Pergament LLP’s rates, Weinberg, Gross & Pergament LLP shall file a supplemental affidavit with

the Court setting forth the basis for the requested rate increase pursuant to 11 U.S.C. § 330(a)(3)(F).

Parties in interest, including the United States Trustee, retain all rights to object to or otherwise

respond to any rate increase on any and all grounds, including, but not limited to, the reasonableness

standard under 11 U.S.C. § 330. Supplemental affidavits are not required for rate increases effective

on or after the date the Trustee submits the Trustee´s Final Report to the United States Trustee.

               ORDERED, that no compensation or reimbursement of expenses shall be paid to

Weinberg, Gross & Pergament LLP for professional services rendered to the Trustee, except upon a

proper application and by further order of this Court following a hearing on notice pursuant to

§§330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

No Objection
Office of the U.S. Trustee


By:    /S/ Stan Y. Yang 1/22/2019

SO ORDERED:




                                                                 ____________________________
 Dated: February 13, 2019                                                 Alan S. Trust
        Central Islip, New York                                  United States Bankruptcy Judge
